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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IEISHA MASS,                            §
                                        §
              Plaintiff,                §
                                        §
- vs -                                  §
                                        §
WELLS FARGO BANK, NA as Trustee for § CASE NO. 4:24-cv-04834
OPTION ONE MORTGAGE LOAN                §
TRUST 2005-4, PHH MORTGAGE              §
CORPORATION its/their successors and/or §
assigns, and GLEANNLOCH FARMS           §
COMMUNITY ASSOCIATION, INC.,            §
                                        §
              Defendants.               §

 DEFENDANTS’ REPLY IN SUPPORT OF SUPPLEMENTAL MOTION TO DISMISS
                       AND MOTION TO STRIKE

        Defendants, PHH Mortgage Corporation (“PHH MC”) and Wells Fargo Bank, National

Association as Trustee for Option One Mortgage Loan Trust 2005-4 Asset-Backed Certificates,

Series 2005-4, (“Wells Fargo”) (collectively, PHH MC and Wells Fargo are referred to herein as

“Defendants”), file this Reply in support of their Supplemental Motion to Dismiss Plaintiff’s

Amended Complaint and Motion to Strike, and respectfully show the Court as follows:

                                                REPLY

        In her response, Plaintiff Ieisha Mass (“Plaintiff”) (1) fails to adequately respond to

Defendants’ Motion to Dismiss, instead advocating for an erroneous legal standard under Texas

law, and (2) fails to identify sufficient reason for leave to amend to be granted. First, Plaintiff

suggests this Court should follow a legal standard under Texas law when assessing Defendants’

motion, which is in direct violation of Rule 81(c). Federal Rule of Civil Procedure 81(c)(1)

unequivocally states that “[t]hese rules apply to a civil action after it is removed from a state court.”

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Accordingly, Plaintiff’s argument that this Court should apply a Texas legal standard to the Motion

is meritless. Second, Plaintiff’s motion for leave should be denied. Plaintiff fails to articulate

sufficient cause to deny the motion to strike, and Plaintiff’s suggested amended pleading does not

cure the deficiencies identified in the Motion.

                                           CONCLUSION

        For each of the foregoing reasons, Defendants pray the Court grant Defendants’

Supplemental Motion to Dismiss and dismiss the claims asserted by Plaintiff with prejudice.

Defendants further requests the Court strike the amended pleading filed by Plaintiff as untimely.

Defendants also seek such other relief, in law or in equity, to which Defendants may be justly

entitled.


Dated: February 26, 2025                             Respectfully submitted,


                                                     /s/ Amelia H. Marquis
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                                                     ATTORNEYS FOR DEFENDANTS
                                                     WELLS FARGO BANK AND
                                                     PHH MORTGAGE CORPORATION




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served upon

all parties or counsel of record on February 26, 2025, in compliance with the Federal Rules of

Civil Procedure.

                                                    /s/ Amelia H. Marquis
                                                    AMELIA H. MARQUIS




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